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                         UNITED STATES DISTRICT COURT
                      DISTRICT OF MARYLAND GREENBELT)
____________________________________________________________________________________

CHARLES KAO,                                                 CASE NO. 8:19-cv-03185-PX
          Plaintiff,

       vs.

SPRINT COMMUNICATIONS
COMPANY L.P.; I.C.
SYSTEM INC.; and
TRANS UNION LLC,
            Defendants.
____________________________________________________________________________________

     STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
                       DEFENDANT TRANS UNION, LLC ONLY
____________________________________________________________________________________

       Plaintiff Charles Kao (“Plaintiff”), by counsel, and Defendant Trans Union, LLC (“Trans Union”),

by counsel, hereby stipulate and agree that all matters herein between them have been compromised and

settled, and that Plaintiff’s cause against Trans Union only should be dismissed, with prejudice, with each

party to bear its own costs and attorneys’ fees.

                                                     Respectfully submitted,



Date: January 31, 2019                               /s/ Ingmar Goldson (with consent)
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                                                     Counsel for Plaintiff Charles Kao
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Date: February 3, 2020                      /s/ Robert J. Schuckit
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                                            Counsel for Defendant Trans Union LLC




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                                     CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing has been filed electronically on the

3rd day of February, 2020. Notice of this filing will be sent to the following parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s electronic filing.

 Ingmar Goldson, Esq.                               Jeffrey L. Friedman, Esq.
 igoldson@goldsonlawoffice.com                      jeff@friedmanlaw.net

         The undersigned further certifies that a true copy of the foregoing was served on the following

parties via First Class, U.S. Mail, postage prepaid, on the 3rd day of February, 2020 properly addressed

as follows:

 None.



                                                      /s/ Robert J. Schuckit
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                                                      Counsel for Defendant Trans Union LLC




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